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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA * CRIMINAL NO. 19-161
v. * SECTION: “I”
NATALIE BARTON *
* * *
FACTUAL BASIS

The above-named defendant, NATALIE BARTON has agreed to plead guilty to Count 1
of the Superseding Bill of Information in which she is charged with misbranding of prescription
drugs. Should this matter have proceeded to trial, the United States of America would have proven
beyond a reasonable doubt, through the introduction of relevant, competent, and admissible
testimonial, physical and demonstrative evidence, the following facts, among others, to support
the allegations of Count 1 against defendant NATALIE BARTON (“BARTON”):

Background

BARTON and her now-deceased husband, E.B., (collectively, the “BARTONS”) owned
and operated a number of Louisiana corporations, including Puresol Labs LLC. These
corporations were registered to either BARTON, E.B. or BARTON’s mother, although the
BARTONS were the true owners and operators of these corporations. Through these corporations,
the BARTONS operated websites, including http://www.purityresearchsolutions.com
(“purityresearch-solutions.com”). As described below, the products that the BARTONS sold on
these websites included prescription drugs. The BARTONS received shipments of prescription
drugs from corporations based in Asia, including GL Biochem and Great Dragon Biochemicals.
For example, during a trash pull, agents discovered a note from a biochemical company based in

Hong Kong reading “Attn: Natalie Barton,” and indicating that the shipment included tadalafil.
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Agents also reviewed emails sent from an email address utilized by BARTON to companies based
in Asia in which she placed orders for sildenafil and other prescription drugs. Therefore, the
investigation revealed that all of the prescription drugs sold by the BARTONS had traveled
through interstate or foreign commerce before they were held for sale to their customers.
Websites & Store Operated by the BARTONS

Task Force Officers (“TFO’s) from the Drug Enforcement Administration (“DEA”) have
visited the websites operated by the BARTONS on numerous occasions. Agents also observed
that the following products were offered for sale on websites operated by the BARTONS: (1)
Albuterol; (2) Anastrozole; (3) Clomiphene Citrate; (4) Dutasteride; (5) Exemestane; (6)
Finasteride; (7) Letrozole; (8) Liothyronine Sodium; (9) Pramipexole; (10) Sildenafil Citrate; (11)
Tadalafil; (12) Tamoxifen Citrate; (13) Toremifene Citrate; and (14) Vardenafil. These substances
are active pharmaceutical ingredients in prescription drug products approved by the Food and Drug
Administration (“FDA”) for distribution within the United States. However, Special Agents from
the Food and Drug Administration (“FDA”) determined that neither BARTON nor E.B. were
practitioners licensed by law to administer prescription drugs, and these products were sold and
dispensed without prescriptions. These products were also sold without labels that included the
symbol “Rx Only,” were sold without adequate directions for use by a layperson, and lacked
adequate warnings against use as necessary for the protection of users. These products were also
generally sold with provisos indicating that they were not for human consumption, although these
provisos were false because the products were in fact sold for human consumption.

Expert Witness Testimony
If this matter had proceeded to trial, the government would have called expert witnesses,

including Dr. Matthew Fedoruk, from the United States Anti-Doping Agency (“USADA”). Dr.

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Fedoruk, the Chief Science Officer for USADA, would testify that there are almost no instances
where the aforementioned prescription drugs would be applied in “not for human consumption”
uses, such as for “research purposes” or “hobbyist purposes.”” Based on this information, as well
as other information obtained during this investigation, FDA agents concluded that provisos
included on prescription drugs sold by the BARTONS that they were “not for human
consumption” were false.
Undercover Purchase of Prescription Drugs in February 2017

On February 8, 2017, DEA TFO’s visited purityresearchsolutions.com and ordered one
bottle of tadalafil and one bottle of sildenafil citrate, providing information for an undercover credit
card. Afterwards, the DEA TFO received an email from puritysolutionscs@gmail.com instructing
the TFO to make a donation to a specific campaign on GoFundMe because the website could not
accept credit card payments. The DEA TFO, as instructed, made a donation to the GoFundMe
campaign in the amount of the purchase price. The TFO subsequently received an email asking
him not to mention the order number in the GoFundMe donation. DEA later received a package
containing sildenafil and tadalafil at a Post Office box located in Metairie, Louisiana. The package
had been shipped via the United States Postal Service from “Puresol,” located at an address in
Mandeville, Louisiana. DEA sent both substances to the Sports Medicine Research and Testing
Laboratory for testing, which confirmed the presence of tadalafil and sildenafil. At no point during
the transaction did the undercover officer provide a valid prescription for tadalafil or sildenafil.
The label for the tadalafil included the false statement “NOT FOR HUMAN CONSUMPTION,”
did not include the symbol “Rx only,” did not include instructions for use, and did not have

warnings against use in those pathological conditions or by children where its use may be

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dangerous to health, or against unsafe dosage or methods or duration of administration or
application, as are necessary for the protection of users.

This proffer of evidence is not intended to constitute a complete statement of all facts
known by BARTON, but rather is a minimum statement of facts intended to prove the necessary
factual predicate for the guilty plea. The limited purpose of this proffer is to demonstrate that there

exists a sufficient legal and factual basis for BARTON’s plea of guilty to these crimes.

 

READ AND APPROVED:
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